   Case: 4:18-cv-01934-CAS Doc. #: 1 Filed: 11/15/18 Page: 1 of 13 PageID #: 1




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

THE INDEPENDENCE PROJECT, INC., a       :
New Jersey Non-Profit Corporation,      :
and JOHN MEGGS, an Individual,          :
                                        :
             Plaintiffs,                :
                                        :
vs.                                     :              Case No.
                                        :
LCRF, LLC, a Missouri Limited Liability :
Company,                                :
                                        :
             Defendant.                 :
______________________________________ :

                                           COMPLAINT

       Plaintiffs, THE INDEPENDENCE PROJECT, INC., a New Jersey Non-Profit Corporation,

and JOHN MEGGS, an Individual, on their behalf and on behalf of all other mobility impaired

individuals similarly situated ("Plaintiff" or "Plaintiffs"), hereby sue the Defendant, LCRF, LLC, a

Missouri Limited Liability Company ("Defendant"), for injunctive Relief, damages, attorney's fees,

litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. §12181 et

seq.

                                  COUNT I
                        VIOLATION OF TITLE III OF THE
                AMERICANS WITH DISABILITIES ACT, 42 U.S.C. § 12181, et seq.

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. ("ADA").

       2.      Venue is properly located in this Court; Eastern District of Missouri, Eastern Division

pursuant to 28 U.S.C. §1391(b) and E.D. Mo. L.R. 3 - 2.07. Venue lies in the judicial district of the

property situs. The Defendant's property is located in and does business within this judicial district.

                                                  1
   Case: 4:18-cv-01934-CAS Doc. #: 1 Filed: 11/15/18 Page: 2 of 13 PageID #: 2




       3.      All events giving rise to this lawsuit occurred in the Eastern District of Missouri,

within the boundaries of Saint Louis County, Missouri.

       4.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §1343, this Court has been given

original jurisdiction over actions which arise from the Defendant's violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

       5.      Plaintiff, JOHN MEGGS, is an individual residing at 1128 Maynard Drive, Duarte,

California, 91010, in the County of Los Angeles.

       6.      Plaintiff, THE INDEPENDENCE PROJECT, INC., is a nonprofit corporation

formed under the laws of the State of New Jersey. THE INDEPENDENCE PROJECT, INC.

maintains is principal office at 1002 Central Ave, New Providence, New Jersey 07947, in the

County of Union.

       7.      Defendant, LCRF, LLC, holds title to the subject property alleged by the Plaintiffs to

be operating in violation of Title III of the ADA.

       8.      The Defendant's property, also known as Flo Lin Corners I and Flo Lin Corners II

located at 1752-1792 North New Florissant Road, Florissant, Missouri 63033 (together being known

as the "Subject Property").

       9.      Plaintiff, JOHN MEGGS is a California resident, is sui juris, and qualifies as an

individual with disabilities as defined by the ADA. Mr. Meggs is a paraplegic as the result of a

spinal cord injury and requires a wheelchair for mobility at all times.

       10.     Plaintiff operates a business incorporated in the State of Missouri with its registered

business address and his business partners' home address both being 2236 Renault Drive, Apartment

C, St. Louis, Missouri 63146.

       11.     Plaintiff regularly visits St. Louis for pleasure and to conduct business; Mr. Meggs is


                                                 2
   Case: 4:18-cv-01934-CAS Doc. #: 1 Filed: 11/15/18 Page: 3 of 13 PageID #: 3




a dee-jay, internet radio host, podcast host and musical talent scout. Mr. Meggs regularly visits the

St. Louis area to promote these endeavors and search for new musical talent by attending live

musical events across the Greater Saint Louis area.

        12.        Mr. Meggs is an extensive traveler by air, bus, and train. Mr. Meggs makes several

trips to the St. Louis area per year by air from Los Angeles. These trips last, on average, 2-3 weeks

after which Mr. Meggs travels by bus or train to visit his extensive family in the Kansas City area

before returning home to Los Angeles by air. At this time, Mr. Meggs has return visits to the St.

Louis area scheduled for December of 2018 and May and June of 2019, during which he will stay at

area hotels, closely located near the airport.

        13.        Location of the Subject Property is in close proximity to that of St. Louis Lambert

International Airport and the hotels in the surrounding area where Mr. Meggs often stays during his

frequent visits.

        14.        Plaintiff has visited the subject property that forms the basis of this lawsuit on several

occasions with his last visit occurring in July 2018. Mr. Meggs plans to return to the subject

property during his next visit to the area in order to avail himself of the goods and services offered

to the public at the property.

        15.        Plaintiff has encountered architectural barriers at the subject property. The barriers to

access at the property have endangered his safety. The plaintiff is also a member of the plaintiff

organization, THE INDEPENDENCE PROJECT, INC., discussed below in paragraph 16, and acts

as a tester on their behalf to ensure the compliance of public accommodations under the Americans

with Disabilities Act.

        16.        Plaintiff, THE INDEPENDENCE PROJECT, INC. is a nonprofit New Jersey

corporation. Members of this organization include individuals, residing across the United States,


                                                       3
   Case: 4:18-cv-01934-CAS Doc. #: 1 Filed: 11/15/18 Page: 4 of 13 PageID #: 4




with disabilities as defined by the ADA. The purpose of this organization is to represent the interest

of its members across the United States by assuring places of public accommodation are accessible

to and usable by, the disabled and that its members are not discriminated against because of their

disabilities.

        17.     THE INDEPENDENCE PROJECT, INC. and its members have suffered and will

continue to suffer direct and indirect injury as a result of Defendant's discrimination until Defendant

has been compelled to comply with the requirements of the ADA. One or more of its members has

suffered an injury that would allow it to bring suit in its own right. THE INDEPENDENCE

PROJECT, INC. has also been discriminated against due to its association with its disabled members

and their claims.

        18.     Defendant, LCRF, LLC, owns, leases, leases to, or operates a place of public

accommodation as defined by the ADA and the regulations implementing the ADA, 28 CFR

36.201(a) and 36.104. Defendant is responsible for complying with the obligations of the ADA.

The places of public accommodation that the Defendant owns, operates, leases or leases to are

known as Flo Lin Corners I (also known as "Flo-Lin Corners Phase One") and Flo Lin Corners II

(also known as "Flo-Lin Corners Phase Two") located at 1752-1792 North New Florissant Road,

Florissant, Missouri 63033.

        19.     THE INDEPENDENCE PROJECT, INC. and JOHN MEGGS have a realistic,

credible, existing and continuing threat of discrimination from the Defendant's non-compliance with

the ADA with respect to this property as described but not necessarily limited to the allegations in

paragraph 22 of this complaint. Plaintiffs have reasonable grounds to believe that they will continue

to be subjected to discrimination in violation of the ADA by the Defendant. JOHN MEGGS desires

to visit the subject property, not only to avail himself of the goods and services available at the


                                                  4
   Case: 4:18-cv-01934-CAS Doc. #: 1 Filed: 11/15/18 Page: 5 of 13 PageID #: 5




property but to assure himself that this property is in compliance with the ADA; so that he and

others similarly situated will have full and equal enjoyment of the property without fear of

discrimination.

       20.       Defendant has discriminated against the individual Plaintiff and members of the

corporate Plaintiff by denying them access to, and full and equal enjoyment of, the goods, services,

facilities, privileges, advantages and/or accommodations of the property, as prohibited by 42 U.S.C.

§ 12182 et seq.

       21.       Defendant has discriminated, and is continuing to discriminate, against the Plaintiff in

violation of the ADA by failing to, inter alia, have accessible facilities by January 26, 1992 (or

January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of $500,000 or less).

A preliminary inspection of subject property has shown that violations exist.

       22.       The violations contained at each of the Defendant's locations and throughout each

tenant space are quite similar and require remediation in order to be compliant with the ADA. These

are the barriers to access that JOHN MEGGS personally encountered, including, but not limited to

the following:

                                  Flo-Lin Corners I ("Phase One")

Parking and Exterior Accessible Route

   a. Parking spaces throughout the parking lot and those designated as accessible at Flo-Lin

Corners I are not maintained, contain slopes beyond the allowable limits, and lack adequate ADA

signage, violating Sections 502 and 502.4 of the 2010 ADA Standards. These conditions, during

several visits, prevented Mr. Meggs from unloading from his vehicle freely and safely, as sloping

presents a tipping hazard. On certain occasions, he would park away from the accessible parking at

the shopping center so that he could access the property safely.


                                                    5
   Case: 4:18-cv-01934-CAS Doc. #: 1 Filed: 11/15/18 Page: 6 of 13 PageID #: 6




   b. Parking spaces adjacent to JN Market fail to provide an accessible route to tenants or curb

ramps, violating Sections 402, 502 and 502.4 of the 2010 ADA Standards. This barrier, on several

occasions, prevented Mr. Meggs from accessing the accessible route from his vehicle both freely and

safely.

   c. Curb ramps provided to access tenant spaces are not maintained, contain slopes beyond

limits and lack adequate ADA signage, in violation of Sections 502 and 502.4 of the 2010 ADA

Standards. Once again, slopes beyond the allowable limits present Mr. Meggs with the danger of

tipping over in his wheelchair.

   d. The exterior accessible route from parking spaces at Flo Lin Corners I fails to provide a safe

accessible route to ramps or curb ramps, violating Section 402 of the 2010 ADA Standards. Mr.

Meggs was forced to travel through the traffic area of the parking lot in order to access the curb

ramp, presenting him with the danger of encountering on-coming vehicles.

   e.     Flo Lin Corners I fails to provide a safe accessible route to the adjacent street/sidewalk/bus

stop, violating Section 206.2.1 of the 2010 ADA Standards. The lack of a safe, accessible route

renders impossible, the option of using public transportation for Mr. Meggs.

Access to Goods and Services

   f. JN Market and Meyers Lounge fail to provide Mr. Meggs with accessible dining tables,

violating Section 902 of the 2010 ADA Standards. Mr. Meggs was unable to dine comfortably due

the lack of accessible tables.

   g. Entering tenant spaces is impeded by abrupt changes of level and slopes at the base of the

door, violating Section 404 of the 2010 ADA Standards. Abrupt changes of level can cause damage

to Mr. Meggs' wheelchair, while sloping at the base of doors present a tipping hazard and increases

the difficulty of maneuvering.


                                                    6
   Case: 4:18-cv-01934-CAS Doc. #: 1 Filed: 11/15/18 Page: 7 of 13 PageID #: 7




   h. Payment counters throughout Flo Lin Corners I, including those at JN Market and Meyers

Lounge are mounted beyond the reach of Mr. Meggs, violating Section 308 of the 2010 ADA

Standards.

Restrooms

   i. Restrooms at JN Market and Meyers Lounge were reported to be unsafe for use by Mr.

Meggs. Inspection revealed Mr. Meggs was unable to use the restrooms safely due to a lack of

accessibility. Restrooms in question contain inaccessible water closets which lack proper controls

and a lack of wheelchair maneuvering space in violation of Section 601 of the 2010 ADA Standards.

   j. The restroom at Meyers Lounge provides dispensers which are mounted beyond the reach of

wheelchair users and are inaccessible to Mr. Meggs, violating Section 308 of the 2010 ADA

Standards.

   k. The lavatories at Meyers Lounge lack proper knee clearance and accessibility in violation of

Section 606 of the 2010 ADA Standards. Mr. Meggs was unable to freely access the lavatory which

prevented him from washing his hands before exiting the restroom.

   l. Meyers Lounge provides restrooms that contain improper centerlines for the water closets

and flush controls mounted on the wall side. These conditions are in violation of Section 604 of the

2010 ADA Standards. Improper centerlines make the transition from his wheelchair to the water

closet exceedingly difficult for Mr. Meggs and present him with the danger of a fall. During past

visits the preceding conditions have prevented Mr. Meggs from using the water closet and accessing

the flush controls.

   m. The restroom door, at both Meyers Lounge and JN Market, is impeded by a lack of

maneuvering clearance, round door knobs, and improper signage violating Section 404 of the 2010

ADA Standards. Mr. Meggs is unable to exit the restroom without assistance due to this lack of


                                                 7
   Case: 4:18-cv-01934-CAS Doc. #: 1 Filed: 11/15/18 Page: 8 of 13 PageID #: 8




maneuvering clearance; thus, he cannot enter the restroom alone and enjoy any sort of privacy.

                               Flo Lin Corners II ("Phase Two")

Parking and Exterior Accessible Route

   n. Parking spaces adjacent Show Me's Sports Bar lack adequate access aisles and fail to provide

an accessible route to tenants or curb ramps, violating Sections 402, 502 and 502.4 of the 2010 ADA

Standards. These conditions during several visits prevented Mr. Meggs from unloading from his

vehicle freely and safely. On certain occasions Mr. Meggs would park away from the shopping

center to insure he could freely access his vehicle.

   o. Parking spaces throughout Flo Lin Corners II are not maintained; contain slopes beyond

limits and lack adequate ADA signage in some locations, violating Sections 502 and 502.4 of the

2010 ADA Standards. Excessive slopes within the parking spaces and along the route are a tipping

hazard for Mr. Meggs.

   p. Curb ramps which are provided to access the tenant stores at Flo Lin Corners II are unsafe

for wheelchair users and are not provided at all in some areas of the center. The curb ramps that are

present contain excessive slopes, abrupt changes of level and lack level landings, violating Sections

402 and 406 of the 2010 ADA Standards. Mr. Meggs dealt with a lack of maneuvering space at the

top and bottom of the curb ramps. These conditions are unsafe for Mr. Meggs when he accesses the

curb ramps as they present a tipping hazard.

   q. The exterior accessible route from the parking spaces at Flo Lin Corners II fails to provide a

safe, accessible route to ramps or curb ramps, violating Section 402 of the 2010 ADA Standards.

Mr. Meggs was forced to travel through the traffic area of the center in order to access the curb ramp

which adds the additional danger of facing on-coming vehicles.

   r. Flo Lin Corners II fails to provide a safe accessible route to the adjacent street/sidewalk/bus


                                                  8
   Case: 4:18-cv-01934-CAS Doc. #: 1 Filed: 11/15/18 Page: 9 of 13 PageID #: 9




stop, violating Section 206.2.1 of the 2010 ADA Standards. The lack of a safe, accessible route

renders impossible, the option of using public transportation for Mr. Meggs.

Access to Good and Services

    s. Show Me's Sports Bar fails to provide accessible dining tables for those in wheelchairs,

violating Section 902 of the 2010 ADA Standards. Mr. Meggs was unable to dine comfortably due

to a lack of accessible tables.

    t. Payment counters throughout Flo Lin Corners II, including those at Show Me's Sports Bar,

are mounted beyond the reach of Mr. Meggs, violating Sections 308 and 904 of the 2010 ADA

Standards.

    u. Entering tenant spaces is impeded by abrupt changes of level and slopes at the base of the

door, violating Section 404 of the 2010 ADA Standards. Abrupt changes of level can cause damage

to Mr. Meggs' wheelchair, while sloping at the base of doors present a tipping hazard and increases

the difficulty of maneuvering.

Restrooms

    v. Restrooms provided at Flo Lin Corners II are improperly designed, including those within

Show Me's Sports Bar and 2010 Nails & Spa. Inspection revealed that Mr. Meggs was unable to use

the restrooms freely and safely due to a lack of accessibility, violating Section 601 of the 2010 ADA

Standards. The restrooms provided contained improper water closets which lack the proper

controls, and a lack of adequate maneuvering clearance. These violations affect Mr. Meggs in

several ways; improper water closets prevent Mr. Moore was freely accessing the toilet and its

controls while adequate maneuvering clearance is needed to freely exit the stall and restroom

without assistance.

    w. The restrooms at Show Me's Sports Bar and 2010 Nails & Spa, each provide dispensers


                                                 9
 Case: 4:18-cv-01934-CAS Doc. #: 1 Filed: 11/15/18 Page: 10 of 13 PageID #: 10




mounted beyond the reach of wheelchair users and are inaccessible to Mr. Meggs, violating Section

308 of the 2010 ADA Standards.

   x. Lavatories located within the restrooms at Show Me's Sports Bar and 2010 Nails & Spa lack

the proper knee clearance and accessibility preventing Mr. Meggs from freely accessing the

lavatory, a violation of Section 606 the 2010 ADA Standards. Mr. Meggs was unable to wash his

hands before exiting the restroom.

   y. Show Me's Sports Bar and 2010 Nails & Spa provide restrooms that contain improper

centerlines for the water closets and flush controls mounted on the wall side, violating Section 604

of the 2010 ADA Standards. Mr. Meggs was unable to access flush controls while in the restrooms

due to their improper location.

   z. Mr. Meggs was impeded from using the restrooms doors at Show Me's Sports Bar and 2010

Nails & Spa due to the presence of round door knobs, improper signage and a lack of maneuvering

clearance, violating Section 404 of the 2010 ADA Standards; levered door handles are required. Mr.

Meggs is unable to exit the restroom without assistance due to this lack of maneuvering clearance;

thus, he cannot enter the restroom alone and enjoy any sort of privacy.

       23.     All of the foregoing violations are also violations of the 1991 American with

Disabilities Act Accessibility Guidelines ("ADAAG") and the 2010 Standards for Accessible

Design, as promulgated by the U.S. Department of Justice.

       24.     The discriminatory violations described in paragraph 22 are not an exhaustive list of

the Defendant's ADA violations. Plaintiffs require a thorough inspection of the Defendant's place of

public accommodation in order to photograph and measure all of the discriminatory acts violating

the ADA and all of the barriers to access. The individual Plaintiff, and all other individuals

similarly situated, have been denied access to, and have been denied the benefits of services,


                                                10
 Case: 4:18-cv-01934-CAS Doc. #: 1 Filed: 11/15/18 Page: 11 of 13 PageID #: 11




programs and activities of the Defendant's buildings and its facilities, and have otherwise been

discriminated against and damaged by the Defendant because of the Defendant's ADA violations, as

set forth above.

       25.     The individual Plaintiff, the members of the Plaintiff group, and all others similarly

situated will continue to suffer such discrimination, injury and damage without the immediate relief

provided by the ADA as requested herein. In order to remedy this discriminatory situation, the

Plaintiffs require an inspection of the Defendant's place of public accommodation in order to

determine all of the areas of non-compliance with the Americans with Disabilities Act.

       26.     Defendant has discriminated against the individual and corporate Plaintiffs by

denying them access to full and equal enjoyment of the goods, services, facilities, privileges,

advantages and/or accommodations of its place of public accommodation or commercial facility in

violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant

continues to discriminate against the individual Plaintiff, the members of the plaintiff group and all

those similarly situated by failing to make reasonable modifications in policies, practices or

procedures, when such modifications are necessary to afford all offered goods, services, facilities,

privileges, advantages or accommodations to individuals with disabilities; and by failing to take such

efforts that may be necessary to ensure that no individual with a disability is excluded, denied

services, segregated or otherwise treated differently than other individuals because of the absence of

auxiliary aids and services.

       27.     Plaintiffs are without adequate remedy at law and are suffering irreparable harm.

Considering the balance of hardships between the Plaintiffs and the Defendant, a remedy in equity is

warranted. Furthermore, the public interest would not be disserved by a permanent injunction.

       28.     Plaintiffs have retained the undersigned counsel and are entitled to recover attorney's


                                                 11
 Case: 4:18-cv-01934-CAS Doc. #: 1 Filed: 11/15/18 Page: 12 of 13 PageID #: 12




fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR

36.505.

       29.     Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for its place of public accommodation that have

existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

alteration to Defendant's place of public accommodation since January 26, 1992, then the Defendant

is required to ensure to the maximum extent feasible, that the altered portions of the facility are

readily accessible to and useable by individuals with disabilities, including individuals who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant's facility is one which was designed and

constructed for first occupancy subsequent to January 26, 1993, as defined in 28 CFR 36.401, then

the Defendant's facility must be readily accessible to and useable by individuals with disabilities as

defined by the ADA.

       30.     Notice to Defendant is not required as a result of the Defendant's failure to cure the

violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and

gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiffs or

waived by the Defendant.

       31.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

Plaintiffs' request for Injunctive Relief, including an order to require the Defendant to alter the

subject property to make the property readily accessible and useable to the Plaintiff and all other

persons with disabilities as defined by the ADA; or by closing the property until such time as the

Defendant has cured violations of the ADA.

       WHEREFORE, Plaintiffs respectfully request:

       a.      The Court issue a Declaratory Judgment that determines that the Defendant, at the


                                                 12
 Case: 4:18-cv-01934-CAS Doc. #: 1 Filed: 11/15/18 Page: 13 of 13 PageID #: 13




            commencement of the subject lawsuit are in violation of Title III of the Americans

            with Disabilities Act, 42 U.S.C. § 12181 et seq.

      b.    Injunctive relief against the Defendant including an order to make all readily

            achievable alterations to the facility; or to make such facility readily accessible to

            and usable by individuals with disabilities to the extent required by the ADA; and to

            require the Defendant to make reasonable modifications in policies, practices or

            procedures, when such modifications are necessary to afford all offered goods,

            services, facilities, privileges, advantages or accommodations to individuals with

            disabilities; and by failing to take such steps that may be necessary to ensure that no

            individual with a disability is excluded, denied services, segregated or otherwise

            treated differently than other individuals because of the absence of auxiliary aids and

            services.

      c.    An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.

            § 12205.

      d.    Such other relief as the Court deems just and proper, and/or is allowable under

            Title III of the Americans with Disabilities Act.

                                           Respectfully submitted,

Dated: November  15, 2018
        _______________________             /s/ Jon G. Shadinger Jr.
                                           _______________________
                                           Jon G. Shadinger Jr., Esq. (70443MO)
                                           Shadinger Law, LLC
                                           100 S 4th Street
                                           Suite 550
                                           St. Louis, MO 63102
                                           Tel. (314) 279-7416
                                           Fax (314) 898-0423
                                           js@shadingerlaw.com
                                           Attorney for Plaintiffs, The Independence Project,
                                           Inc. and John Meggs


                                              13
